     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 1 of 24


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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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13   MARK BAIRD and RICHARD                                Case No. 2:19-cv-00617-KJM-AC
     GALLARDO,
14                                                       DEFENDANT’S MEMORANDUM OF
                                             Plaintiffs, POINTS AND AUTHORITIES IN
15                                                       SUPPORT OF MOTION TO DISMISS
                    v.                                   PLAINTIFFS’ COMPLAINT
16
                                                           [Fed. R. Civ. P. 12(b)(6)]
17   XAVIER BECERRA, in his official capacity
     as Attorney General of the State of               Date:               July 26, 2019
18   California, and DOES 1-10,                        Time:               10:00 a.m.
                                                       Courtroom:          3
19                                          Defendant. Judge:              Kimberly J. Mueller
                                                       Trial Date:         None set
20                                                     Action Filed:       April 9, 2019

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        Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 2 of 24


 1                                                       TABLE OF CONTENTS
 2                                                                                                                                              Page
 3   Introduction ..................................................................................................................................... 1
     Background ..................................................................................................................................... 1
 4
            I.        California’s Public Carry Laws ............................................................................... 1
 5          II.       The Present Lawsuit ................................................................................................ 3
 6   Legal Standard ................................................................................................................................ 6
     Argument ........................................................................................................................................ 7
 7
            I.        Counts 5 and 6 Should Be Dismissed Because California Penal Code
 8                    Sections 26150 and 26155 Do Not Burden the Flow of Interstate
                      Commerce ............................................................................................................... 7
 9          II.       Counts 7 and 8 Should Be Dismissed Because California Penal Code
                      Sections 26150 and 26155 Do Not Penalize Plaintiffs’ Intrastate Travel ............... 9
10
            III.      Count 12 Should Be Dismissed Because California Penal Code Sections
11                    26150, 26155, 26350, and 25850 Do Not Effect an Unreasonable Seizure.......... 11
            IV.       Counts 13 and 14 Should Be Dismissed Because California Penal Code
12                    Sections 26150, 26155, 26350, and 25850 Do Not Deny Plaintiffs Due
                      Process .................................................................................................................. 13
13
            V.        The Fourth and Fourteenth Amendment Allegations in Counts 9 and 10
14                    Should Be Dismissed ............................................................................................ 15
     Conclusion .................................................................................................................................... 16
15

16

17

18

19

20

21

22

23

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25

26

27

28
                                                                              i
          Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 3 of 24


 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                        Page
 3
     CASES
 4
     Albright v. Oliver
 5      510 U.S. 273 (1994) ..................................................................................................................15
 6
     Am. Trucking Ass’ns, Inc. v. Michigan Pub. Serv. Comm’n
 7      545 U.S. 429 (2005) ....................................................................................................................8

 8   Ashcroft v. Iqbal
        556 U.S. 662 (2009) ......................................................................................................1, 6, 8, 14
 9
     Ass’n des Eleveurs de Canards et d’Oies du Quebec v. Harris
10      729 F.3d 937 (9th Cir. 2013)...................................................................................................7, 8
11   Associated Gen. Contractors of CA, Inc. v. CA State Council of Carpenters
12      459 U.S. 519 (1983) ....................................................................................................................6

13   Att’y Gen. of N.Y. v. Soto-Lopez
         476 U.S. 898 (1986) ............................................................................................................10, 11
14
     Bell Atl. Corp. v. Twombly
15       550 U.S. 544 (2007) ....................................................................................................................6
16   Bell v. Maryland
         378 U.S. 226 (1964) ..................................................................................................................11
17

18   Carver v. Lehman
        558 F.3d 869 (9th Cir. 2009).....................................................................................................14
19
     Cedar Point Nursery v. Shiroma
20      923 F.3d 524 (9th Cir. 2019).....................................................................................................12
21   Chavez v. Martinez
        538 U.S. 760 (2003) ..................................................................................................................14
22

23   Chinatown Neighborhood Ass’n v. Harris
        794 F.3d 1136 (9th Cir. 2015).....................................................................................................9
24
     Corrie v. Caterpillar
25      503 F.3d 974 (9th Cir. 2007).......................................................................................................6

26   Cupp v. Harris
        2:16-cv-00523-TLN-KJN, 2018 WL 4599590 (E.D. Cal. Sept. 21, 2018)...............................14
27

28
                                                                          ii
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 4 of 24


 1                                                   TABLE OF AUTHORITIES
                                                           (continued)
 2                                                                                                                                         Page
 3   Dep’t of Revenue of Ky. v. Davis
        553 U.S. 328 (2008) ....................................................................................................................7
 4
     District of Columbia v. Heller
 5
        554 U.S. 570 (2008) ..........................................................................................................1, 2, 13
 6
     Hammel v. Tri-County Metro. Transp. Dist. of Or.
 7     955 F. Supp. 2d 1205 (D. Or. 2013) .........................................................................................10

 8   Healy v. Beer Inst.
        491 U.S. 324 (1989) ....................................................................................................................7
 9
     Hill v. Opus Corp.
10       841 F. Supp. 2d 1070 (C.D. Cal. 2011).................................................................................6, 15
11
     Johnson v. City of Cincinnati
12      310 F.3d 484 (6th Cir. 2002).....................................................................................................10

13   Ky. Dep’t of Corr. v. Thompson
         490 U.S. 454 (1989) ..................................................................................................................14
14
     McDonald v. City of Chicago, Ill.
15     561 U.S. 742 (2010) ..................................................................................................................10
16   Mem’l Hosp. v. Maricopa Cnty.
17     415 U.S. 250 (1974) ............................................................................................................10, 11

18   Miller v. Reed
        176 F.3d 1202 (9th Cir. 1999)...................................................................................................11
19
     Nationwide Biweekly Admin., Inc. v. Owen
20      873 F.3d 716 (9th Cir. 2017).......................................................................................................8
21   Nunez v. City of San Diego
22      114 F.3d 935 (9th Cir. 1997).....................................................................................................10

23   Or. Waste Sys., Inc. v. Dep’t of Envtl. Quality of State of Or.
         511 U.S. 93 (1994) ......................................................................................................................7
24
     Paulson v. CNF, Inc.
25      559 F.3d 1061 (9th Cir. 2009).....................................................................................................6
26   People v. DeLong
        11 Cal. App. 3d 786 (Cal. Ct. App. 1970) ................................................................................13
27

28
                                                                          iii
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 5 of 24


 1                                                  TABLE OF AUTHORITIES
                                                          (continued)
 2                                                                                                                                       Page
 3   Pharm. Research & Mfrs. of Am. v. Cnty. of Alameda
        768 F.3d 1037 (9th Cir. 2014).................................................................................................8, 9
 4
     Pike v. Bruce Church, Inc.
 5
        397 U.S. 137 (1970) ................................................................................................................8, 9
 6
     Sam Francis Found. v. Christies, Inc.
 7      784 F.3d 1320 (9th Cir. 2015).....................................................................................................7

 8   Shapiro v. Thompson
        394 U.S. 618 (1969) ..................................................................................................................11
 9
     Soldal v. Cook County, Ill.
10      506 U.S. 56 (1992) ....................................................................................................................12
11
     Teixeira v. Cnty. of Alameda
12       822 F.3d 1047 (9th Cir. 2016)...................................................................................................15

13   United States v. Brady
        819 F.2d 884 (9th Cir. 1987).....................................................................................................13
14
     United States v. Guest
15      383 U.S. 745 (1966) ....................................................................................................................9
16   United States v. Jacobsen
17      466 U.S. 109 (1984) ..................................................................................................................12

18   United States v. Jefferson
        566 F.3d 928 (9th Cir. 2009).....................................................................................................12
19
     W. Lynn Creamery Inc. v. Healy
20      512 U.S. 186 (1994) ....................................................................................................................9
21   Washington v. Glucksberg
22     521 U.S. 702 (1997) ..................................................................................................................14

23   Wright v. City of Jackson
        506 F.2d 900 (5th Cir. 1975).....................................................................................................10
24

25

26

27

28
                                                                         iv
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 6 of 24


 1                                                     TABLE OF AUTHORITIES
                                                             (continued)
 2                                                                                                                                              Page
 3   STATUTES
 4   California Penal Code
        § 17030 ........................................................................................................................................2
 5
        § 25400 ........................................................................................................................................2
 6      § 25450 ........................................................................................................................................2
        § 25605 ........................................................................................................................................2
 7      § 25620 ........................................................................................................................................2
        § 25630 ........................................................................................................................................2
 8      § 25640 ........................................................................................................................................2
        § 25650 ........................................................................................................................................2
 9
        § 25850 ..........................................................................................................................1, 4, 5, 15
10      § 25850(a) ...............................................................................................................................2, 4
        § 25850(b) .............................................................................................................................4, 13
11      § 25900 ........................................................................................................................................2
        § 26030 ........................................................................................................................................2
12      § 26035 ........................................................................................................................................2
        § 26045 ........................................................................................................................................2
13
        § 26050 ........................................................................................................................................2
14      § 26055 ........................................................................................................................................2
        § 26150 .............................................................................................................................. passim
15      § 26150(a) .................................................................................................................................14
        § 26150(a)(2)...............................................................................................................................2
16      § 26150(b) ...................................................................................................................................8
17      § 26150(b)(2) ..............................................................................................................3, 4, 12, 14
        § 26155 .............................................................................................................................. passim
18      § 26155(a) .................................................................................................................................14
        § 26155(a)(2)...............................................................................................................................2
19      § 26155(b) ...................................................................................................................................8
        § 26155(b)(2) ........................................................................................................................3, 14
20      § 26160 ........................................................................................................................................3
21      § 26350 ..........................................................................................................................1, 4, 5, 14
        § 26350(a) ...................................................................................................................................2
22      § 26350(a)(1)...............................................................................................................................4
        § 26350(a)(2)...............................................................................................................................4
23      § 26366 ........................................................................................................................................2
        § 26400 ........................................................................................................................................2
24
     CONSTITUTIONAL PROVISIONS
25

26   United States Constitution
        Amendment IV ..........................................................................................................................11
27      Amendment XIV, § 1 ................................................................................................................13
        Article I, § 8, cl. 3 .......................................................................................................................7
28
                                                                             v
          Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 7 of 24


 1                                                    TABLE OF AUTHORITIES
                                                            (continued)
 2                                                                                                                                           Page
 3   COURT RULES
 4   Federal Rules of Civil Procedure
        Rule 12(b)(6) ...............................................................................................................................6
 5

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         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 8 of 24


 1                                               INTRODUCTION

 2          California has delegated to county sheriffs and city police chiefs the authority to decide

 3   who may carry firearms in the streets, parks, plazas, or shopping centers of its cities and towns.

 4   Under California Penal Code sections 26150 and 26155, local law enforcement officials in less

 5   populated counties may issue licenses to openly carry firearms. Other statutes, such as California

 6   Penal Code sections 26350 and 25850, protect the safety of the State’s residents by prohibiting

 7   open carry in certain public places. Together, these statutes properly balance the rights of private

 8   individuals and the State’s interest in maintaining order.

 9          The relief that Plaintiffs seek in this lawsuit—to make the open carry of firearms in public

10   available to all law-abiding individuals—would upset this careful balance. Although Plaintiffs

11   suggest that District of Columbia v. Heller, 554 U.S. 570 (2008) compels such relief, the Supreme

12   Court made clear that the Second Amendment right to bear arms is subject to reasonable public

13   regulation. Id. at 626-27, 636.

14          This motion addresses the assortment of extraneous claims that Plaintiffs bring under the

15   dormant Commerce Clause and Fourth and Fourteenth Amendments to the United States

16   Constitution, which find no support in Heller or under any other authority. 1 As currently

17   constituted, Plaintiffs’ complaint is overbroad. To state a facially plausible claim, Plaintiffs must

18   do more than present “a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.

19   Iqbal, 556 U.S. 662, 678 (2009). The statutes that Plaintiffs challenge do not burden interstate

20   commerce, or penalize the right to travel, or effect an unreasonable seizure, or violate due

21   process; they simply regulate how open carry licenses are issued and where such licenses are

22   operable. These deficient claims should be dismissed.

23                                                BACKGROUND

24   I.     CALIFORNIA’S PUBLIC CARRY LAWS

25          California law permits the carrying of firearms in public under certain circumstances,

26   commonly where a self-defense need might arise. A California resident who is over eighteen

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              1
               Because the factual record is not yet sufficiently developed, this motion does not address
28   Plaintiffs’ Second Amendment claims.
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          Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 9 of 24


 1   years old and not otherwise prohibited from possessing firearms may generally keep or carry a

 2   loaded handgun not only in the person’s home (as guaranteed by Heller) but also in the person’s

 3   place of business. Cal. Penal Code §§ 25605, 26035. Carrying is also generally permitted at a

 4   temporary residence or campsite. Id. § 26055. A person generally may also carry a loaded

 5   handgun in public areas outside incorporated cities where it would be lawful to discharge the

 6   weapon. See id. §§ 25850(a), 17030. Licensed hunters and fishers may carry handguns while

 7   engaged in those activities. Id. §§ 25640, 26366. Certain types of individuals, such as peace

 8   officers, military personnel, and private security personnel, likewise may carry firearms in public

 9   under various circumstances. See id. §§ 25450, 25620, 25630, 25650, 25900, 26030.

10         State law generally prohibits the public carrying, whether open or concealed, of a loaded

11   firearm (handgun or long gun) or unloaded handgun in “any public place or on any public street”

12   in incorporated cities. Cal. Penal Code § 25850(a); see id. §§ 25400, 26350(a). A similar

13   restriction applies in public places or on public streets in a “prohibited area” of unincorporated

14   territory—that is, an area where it is unlawful to discharge a weapon. Id. §§ 25850(a), 26350(a);

15   see id. § 17030. State law also generally precludes carrying an unloaded long gun in public

16   places within the State’s incorporated cities. Id. § 26400.

17         There is a focused self-defense exception to all of these restrictions, allowing the carrying

18   of a loaded firearm by any individual who reasonably believes that doing so is necessary to

19   preserve a person or property from an immediate, grave danger, while if possible notifying and

20   awaiting the arrival of law enforcement. Cal. Penal Code § 26045. There is also an exception for

21   a person making or attempting to make a lawful arrest. Id. § 26050. And invocations of these

22   exceptions do not require a license or permit. Id. §§ 26045, 26050.

23         California law also recognizes and accommodates the need or desire of some individuals to

24   carry a handgun in public in situations not otherwise provided for by law. State law allows any

25   otherwise qualified resident to seek a permit to carry a handgun, even in an urban or residential

26   area, for “[g]ood cause.” Cal. Penal Code §§ 26150(a)(2), 26155(a)(2). Such a permit authorizes

27   the carrying of a handgun in a concealed manner, although in counties with populations of less

28   than 200,000 persons, the permit may alternatively allow the carrying of a handgun in an
                                                     2
        Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 10 of 24


 1    “exposed” (i.e., open) manner. Id. §§ 26150(b)(2), 26155(b)(2). The California Legislature has

 2    delegated to local authorities (county sheriffs or city police chiefs) the authority to determine

 3    what constitutes “good cause” for the issuance of such a permit in local areas. See id. §§ 26150,

 4    26155, 26160.

 5    II.     THE PRESENT LAWSUIT
 6            On April 9, 2019, Plaintiffs Mark Baird and Richard Gallardo filed a complaint for

 7    declaratory and injunctive relief against Attorney General Xavier Becerra alleging that

 8    California’s statutory firearms licensing scheme violates Plaintiffs’ constitutional rights under the

 9    Second, Fourth, and Fourteenth Amendments to the Constitution. Compl. ¶ 1. Plaintiffs each

10    contend that they have been unlawfully prohibited from obtaining a license to openly carry

11    firearms. Id. ¶¶ 41, 72.

12            The complaint alleges the following facts about each plaintiff and their respective counties

13    of residence:

14            •    Plaintiff Mark Baird is a U.S. citizen and resident of Siskiyou County, California.

15                 Compl. ¶ 6. Plaintiff Baird is a law-abiding citizen and does not have a criminal record.

16                 Id. ¶ 20. He does not hold a state firearm license and is not eligible for any special

17                 exemptions from state firearms laws. Id. ¶ 21. He possesses firearms in his home for

18                 self-defense and seeks to carry a handgun loaded and exposed for self-defense outside

19                 of his home and in public, including outside of his county of residence. Id. ¶¶ 22, 23,

20                 48. Because Plaintiff Baird’s county of residence has a population of less than 200,000

21                 people, he is eligible under state law to apply for an open carry firearm license, but

22                 Siskiyou County’s written criteria for the issuance of a carry license does not provide an

23                 option for applying for an open carry license. Id. ¶¶ 25, 26. Each time that Plaintiff

24                 Baird has applied for an open carry license, Siskiyou County Sheriff Jon Lopey has

25                 denied the request. Id. ¶¶ 38, 39. There is no administrative appeal process available to

26                 challenge Sheriff Lopey’s decision, and Sheriff Lopey has informed Plaintiff Baird that

27                 Siskiyou County does not issue open carry licenses. Id. ¶¶ 42, 43. With or without an

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                                                             3
            Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 11 of 24


 1              open carry license, Plaintiff Baird intends to open carry in Siskiyou County and

 2              throughout the state. Id. ¶ 52.

 3          •   Plaintiff Richard Gallardo is a U.S. citizen and resident of Shasta County, California.

 4              Compl. ¶ 7. Plaintiff Gallardo is a law-abiding citizen and does not have a criminal

 5              record. Id. ¶ 53. He possesses firearms in his home for self-defense and seeks to carry

 6              a handgun loaded and exposed for self-defense outside of his home and in public,

 7              including outside of his county of residence. Id. ¶¶ 54, 55, 78. Because Plaintiff

 8              Gallardo’s county of residence has a population of less than 200,000 people, he is

 9              eligible under state law to apply for an open carry firearm license, but Siskiyou

10              County’s written criteria for the issuance of a carry license does not provide an option

11              for applying for an open carry license. Id. ¶¶ 57, 58. Each time that Plaintiff Gallardo

12              has applied for an open carry license, Shasta County Sheriff Tom Bosenko has denied

13              the request. Id. ¶¶ 70. There is no administrative appeal process available to challenge

14              Sheriff Bosenko’s decision, and Sheriff Bosenko has stated that Shasta County does not

15              issue open carry licenses. Id. ¶¶ 76. With or without an open carry license, Plaintiff

16              Gallardo intends to open carry in Shasta County and throughout the state. Id. ¶ 82.

17          Plaintiffs challenge four state laws: California Penal Code sections 26150, 26155, 26350,

18    and 25850. Sections 26150 and 26155 state that, in a county of less than 200,000 persons, the

19    county sheriff or city police chief within the county “may issue . . . a license to carry loaded and

20    exposed in only that county a pistol, revolver, or other firearm capable of being concealed upon

21    the person” if “good cause exists for issuance of the license.” Cal. Penal Code §§ 26150(b)(2)

22    (county sheriff), 26155(b)(2) (city police chief). Section 26350 prohibits a person from “openly

23    carrying an unloaded handgun” outside or inside a vehicle in public places. Cal. Penal Code

24    § 26350(a)(1), (a)(2). Section 25850 prohibits a person from “carrying a loaded firearm” outside

25    or inside a vehicle in public places, and, “for the purpose of enforcing this section,” allows peace

26    officers to examine a firearm “to determine whether or not [the] firearm is loaded.” Cal. Penal

27    Code § 25850(a), (b).

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                                                          4
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 12 of 24


 1          Plaintiffs bring five claims based solely on the Second Amendment, and two additional

 2    claims based in part on the Second Amendment. Plaintiffs challenge the following components

 3    of sections 26150 and 26155: the requirement that an applicant show “good cause” for an open

 4    carry license (Count 1), Compl. ¶¶ 254-256; the restriction of the validity and authority of an

 5    open carry license to the county of issuance (Count 2), Compl. ¶¶ 257-259; the restriction of the

 6    ability to open carry based on county population size (Count 3), Compl. ¶¶ 260-262; and the

 7    discretionary “may issue” language (as opposed to mandatory “shall issue” language) that guides

 8    the county sheriffs and police chiefs’ licensing decisions (Count 4), Compl. ¶¶ 263-265.

 9    Plaintiffs also challenge sections 26150, 26155, 26350, and 25850’s alleged interference with

10    their “right to carry their firearms in public for self-protection in a manner of their choosing”

11    (Count 11). Compl. ¶¶ 284-286. Finally, Plaintiffs allege that section 25850’s prohibition against

12    open carry of a loaded firearm by an open carry licensee in a county other than the county of

13    issuance (Count 9) and section 26350’s prohibition against open carry of an unloaded firearm by

14    an open carry licensee in public places (Count 10) violate the Second Amendment (as well as the

15    Fourth and Fourteenth Amendments). Compl. ¶¶ 278-283.

16          Here, the Attorney General moves to dismiss Plaintiffs’ seven claims that are based solely

17    on the dormant Commerce Clause, Fourth Amendment, or Fourteenth Amendment. These claims

18    include:

19          •    Plaintiffs’ dormant Commerce Clause challenges to sections 26150 and 26155’s

20               restrictions on the open carry of a loaded firearm to the county that issued the open

21               carry license (Count 5) and to counties with a population under 200,000 persons (Count

22               6), Compl. ¶¶ 266-271;

23          •    Plaintiffs’ Fourteenth Amendment “right to intrastate travel” challenges to sections

24               26150 and 26155’s restrictions on the open carry of a loaded firearm to the county that

25               issued the open carry license (Count 7) and to counties with a population under 200,000

26               persons (Count 8), Compl. ¶¶ 272-277;

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         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 13 of 24


 1          •   Plaintiffs’ Fourth Amendment challenge to sections 26150, 26155, 26350, and 25850’s

 2              alleged interference with their “fundamental possessory right to their private property”

 3              (Count 12), Compl. ¶¶ 287-289; and

 4          •   Plaintiffs’ Fourteenth Amendment procedural due process (Count 13) and substantive

 5              due process (Count 14) challenges to sections 26150, 26155, 26350, and 25850, Compl.

 6              ¶¶ 290-296.

 7    The Attorney General also moves to dismiss the portions of Counts 9 and 10 that are based on the

 8    Fourth and Fourteenth Amendments. Compl. ¶¶ 278-283.

 9                                            LEGAL STANDARD
10          A motion to dismiss may be brought to challenge the sufficiency of the allegations in the

11    complaint. Fed. R. Civ. P. 12(b)(6). The complaint must allege facts establishing “a claim to

12    relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

13    claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

14    the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

15    at 678 (internal quotation marks omitted). In evaluating a 12(b)(6) motion, the court accepts the

16    factual allegations as true, and construes them in the light most favorable to the plaintiff. Corrie

17    v. Caterpillar, 503 F.3d 974, 977 (9th Cir. 2007). The court is not, however, required to assume

18    the truth of legal conclusions merely because they are cast in the form of factual allegations.

19    Paulson v. CNF, Inc., 559 F.3d 1061, 1071 (9th Cir. 2009). Likewise, a court must not “assume

20    that the [plaintiff] can prove facts that it has not alleged or that defendants have violated . . . laws

21    in ways that have not been alleged.” Associated Gen. Contractors of CA, Inc. v. CA State Council

22    of Carpenters, 459 U.S. 519, 526 (1983). Where the moving party challenges only part of a

23    claim, the court may dismiss the allegations that are shown to be legally deficient. Hill v. Opus

24    Corp., 841 F. Supp. 2d 1070, 1081-82 (C.D. Cal. 2011).

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                                                          6
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 14 of 24


 1                                                  ARGUMENT

 2    I.     COUNTS 5 AND 6 SHOULD BE DISMISSED BECAUSE CALIFORNIA PENAL CODE
             SECTIONS 26150 AND 26155 DO NOT BURDEN THE FLOW OF INTERSTATE
 3           COMMERCE

 4           Plaintiffs bring two claims based on the dormant Commerce Clause. In Count 5, they

 5    challenge the constitutionality of sections 26150 and 26155’s restriction on the open carry of a

 6    loaded firearm to the county that issued the open carry license. Compl. ¶¶ 266-268. In Count 6,

 7    they challenge the constitutionality of sections 26150 and 26155’s restriction on the open carry of

 8    a loaded firearm to counties with a population under 200,000 persons. Compl. ¶¶ 269-271.

 9    Neither claim is legally cognizable because Plaintiffs have not identified how the statutes

10    purportedly burden interstate commerce.

11           The Commerce Clause authorizes Congress to “regulate Commerce with foreign Nations,

12    and among the several States . . . .” U.S. Const., art. I, § 8, cl. 3. It includes an implied limitation

13    on the states’ regulatory authority often referred to as the negative or dormant Commerce Clause.

14    Healy v. Beer Inst., 491 U.S. 324, 326 n.1 (1989). “The modern law of what has come to be

15    called the dormant Commerce Clause is driven by concern about economic protectionism—that

16    is, regulatory measures designed to benefit in-state economic interests by burdening out-of-state

17    competitors.” Dep’t of Revenue of Ky. v. Davis, 553 U.S. 328, 337-38 (2008) (internal quotation

18    marks omitted). Economic protectionism or discrimination under the dormant Commerce Clause

19    “means differential treatment of in-state and out-of-state economic interests that benefits the

20    former and burdens the latter.” Or. Waste Sys., Inc. v. Dep’t of Envtl. Quality of State of Or., 511

21    U.S. 93, 99 (1994) (internal quotation marks omitted).

22           A law that regulates extraterritorially—that is, a law that directly regulates conduct that

23    occurs wholly outside of a state’s borders—is invalid per se under the dormant Commerce

24    Clause. Sam Francis Found. v. Christies, Inc., 784 F.3d 1320, 1323 (9th Cir. 2015) (en banc). If

25    there is no such per se violation, courts employ a two-tiered approach to determine whether the

26    law violates the dormant Commerce Clause. Ass’n des Eleveurs de Canards et d’Oies du Quebec

27    v. Harris, 729 F.3d 937, 948 (9th Cir. 2013). Courts first ask whether the law “discriminates

28    against interstate commerce, or [whether] its effect is to favor in-state economic interests . . . .”
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           Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 15 of 24


 1    Id. at 948. If it does, they apply a form of strict scrutiny. Id. at 948 & n.7. If the law regulates

 2    evenhandedly, courts “examine[] whether the State’s interest is legitimate and whether the burden

 3    on interstate commerce clearly exceeds the local benefits.” Id.; see also Pike v. Bruce Church,

 4    Inc., 397 U.S. 137, 142 (1970).

 5          Plaintiffs do not suggest that there is a per se violation of the dormant Commerce Clause

 6    here; the complaint contains no allegations that sections 26150 and 26155 regulate

 7    extraterritorially. See Compl. ¶¶ 170-178, 266-271. Plaintiffs instead allege, in cursory fashion,

 8    that sections 26150(b) and 26155(b)’s restrictions violate the dormant Commerce Clause “by

 9    discriminating against interstate commerce, imposing burdens on commerce that far exceed any

10    purported local benefits, and impermissibly attempting to control economic activity entirely (i)

11    outside of the county issuing an open carry license, and (ii) outside of counties having a

12    population under 200,000.” Compl. ¶ 173. But these “[t]hreadbare recitals of the elements of a

13    cause of action, supported by mere conclusory statements, do not suffice” to state a claim. Iqbal,

14    556 U.S. at 678-79. Because the challenged provisions regulate only conduct within California

15    and neither discriminate against nor burden interstate commerce, Counts 5 and 6 fail as a matter

16    of law.

17          Sections 26150 and 26155 restrict the counties that may issue open carry licenses and the

18    scope of those licenses, but these regulations on intrastate conduct do not “impose[] commercial

19    barriers or discriminate[] against an article of commerce by reason of its origin or destination out

20    of State.” Pharm. Research & Mfrs. of Am. v. Cnty. of Alameda, 768 F.3d 1037, 1041 (9th Cir.

21    2014) (setting forth test to determine when statute discriminates against interstate commerce).

22    Such intrastate regulations are beyond the scope of the dormant Commerce Clause. Am. Trucking

23    Ass’ns, Inc. v. Michigan Pub. Serv. Comm’n, 545 U.S. 429, 434 (2005) (“neutral, locally focused

24    fee or tax” does not offend the dormant Commerce Clause); Nationwide Biweekly Admin., Inc. v.

25    Owen, 873 F.3d 716, 737 (9th Cir. 2017) (“intrastate commerce is beyond the scope of the

26    Dormant Commerce Clause”).

27          Even if intrastate commerce were within the purview of the dormant Commerce Clause,

28    sections 26150 and 26155 do not purport to control any economic activity. Because Plaintiffs fail
                                                     8
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 16 of 24


 1    to identify how these statutes discriminate against interstate commerce, the balancing test

 2    articulated by the Supreme Court in Pike applies. Pharm. Research & Mfrs. of Am., 768 F.3d at

 3    1044 (citing Pike, 397 U.S. at 142). That test asks whether “the burden [the law] imposes on

 4    interstate commerce is clearly excessive in relation to the putative local benefits.” Id. (internal

 5    quotation marks omitted). Plaintiffs “must first show that the statute imposes a substantial burden

 6    before the court will determine whether the benefits of the challenged laws are illusory.” Id.

 7    (quotation marks omitted). “Only a small number of cases invalidating laws under the dormant

 8    Commerce Clause have involved laws that were genuinely nondiscriminatory.” Chinatown

 9    Neighborhood Ass’n v. Harris, 794 F.3d 1136, 1146 (9th Cir. 2015), (ellipses and brackets

10    omitted).

11            Plaintiffs’ complaint does not address how sections 26150 and 26155 even affect interstate

12    (or intrastate) commerce, let alone how they impose a substantial burden. Nor does the complaint

13    account for the other side of the ledger—“the power of the State to shelter its people from

14    menaces to their health or safety . . ., even when those dangers emanate from interstate

15    commerce.” W. Lynn Creamery Inc. v. Healy, 512 U.S. 186, 206 n.21 (1994). Given these

16    pleading deficiencies, Counts 5 and 6 should be dismissed.

17    II.     COUNTS 7 AND 8 SHOULD BE DISMISSED BECAUSE CALIFORNIA PENAL CODE
              SECTIONS 26150 AND 26155 DO NOT PENALIZE PLAINTIFFS’ INTRASTATE TRAVEL
18

19            Plaintiffs bring two claims based on a purported Fourteenth Amendment “right to intrastate

20    travel.” Compl. ¶ 162. In Count 7, they challenge the constitutionality of sections 26150 and

21    26155’s restriction on the open carry of a loaded firearm to the county that issued the open carry

22    license. Compl. ¶¶ 272-274. In Count 8, they challenge the constitutionality of sections 26150

23    and 26155’s restriction on the open carry of a loaded firearm to counties with a population under

24    200,000 persons. Compl. ¶¶ 275-277. These claims cannot succeed because the statutes do not

25    penalize Plaintiffs’ exercise of their right to intrastate travel, to the extent that such a right may

26    exist under the Constitution.

27            The right to interstate travel “has been firmly established and repeatedly recognized.”

28    United States v. Guest, 383 U.S. 745, 756 (1966). But whether the Constitution guarantees a
                                                     9
            Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 17 of 24


 1    fundamental right to intrastate travel has not been resolved by the Supreme Court or the Ninth

 2    Circuit. Hammel v. Tri-County Metro. Transp. Dist. of Or., 955 F. Supp. 2d 1205, 1210 (D. Or.

 3    2013) (citing Mem’l Hosp. v. Maricopa Cnty., 415 U.S. 250, 255-56 (1974), and Nunez v. City of

 4    San Diego, 114 F.3d 935, 944 n.7 (9th Cir. 1997)). Circuit courts elsewhere have split on this

 5    question. Compare Johnson v. City of Cincinnati, 310 F.3d 484, 498 (6th Cir. 2002)

 6    (fundamental right to intrastate travel violated by ordinance banning persons arrested for or

 7    convicted of drug crimes from “drug exclusion zones”) with Wright v. City of Jackson, 506 F.2d

 8    900, 902-03 (5th Cir. 1975) (no fundamental right to intrastate travel infringed by ordinance

 9    requiring city employees to live within city).

10          While the textual source of the constitutional right to travel “has proved elusive,” Att’y Gen.

11    of N.Y. v. Soto-Lopez, 476 U.S. 898, 902 (1986), Plaintiffs identify the Privileges or Immunities

12    Clause of the Fourteenth Amendment as the basis for their claim here. 2 Compl. ¶¶ 273, 276. The

13    Supreme Court has identified three circumstances in which a state law implicates the right to

14    travel under the Privileges or Immunities Clause: (1) when the law “actually deters” travel, (2)

15    when “impeding travel” is the law’s “primary objective,” and (3) when the law “uses any

16    classification which serves to penalize the exercise of [the right to travel].” Soto-Lopez, 476 U.S.

17    at 903 (internal quotations omitted). Plaintiffs’ claims do not meet any of these circumstances.

18          Indeed, Plaintiffs do not even allege that sections 26150 and 26155 “actually deter”

19    Plaintiffs, or anyone else, from traveling to or from Siskiyou or Shasta Counties, or that

20    “impeding travel” is the “primary objective” of these statutes. See Soto-Lopez, 476 U.S. at 903.

21    Sections 26150 and 26155 merely regulate the criteria a county sheriff or city policy chief must

22    follow when issuing licenses to carry firearms, and where those licenses are operable. Plaintiffs

23    are free to come and go as they please; their complaint does not suggest that the statutes constrain

24    their out-of-county travel.

25           2
                A right to bear arms is not among the fundamental rights protected by the Privileges or
      Immunities Clause of the Fourteenth Amendment. McDonald v. City of Chicago, Ill., 561 U.S.
26    742, 758 (2010) (plurality opinion); see also id. at 859-60 (Stevens, J., dissenting) (agreeing with
      the four justices in the plurality that the right to bear arms is not a fundamental right recognized
27    under the Privileges or Immunities Clause) and 934 (Breyer, J., dissenting) (same, joined by
      Ginsburg, J. and Sotomayor, J.).
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                                                         10
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 18 of 24


 1          Nor do sections 26150 and 26155, by classifying who is eligible for an open carry license

 2    and limiting the scope of such licenses, “penalize” Plaintiffs’ exercise of their right to travel. See

 3    Soto-Lopez, 476 U.S. at 903, 906. Only if a statute denies a “very important benefit [or] right”

 4    can the court find that it “penalizes” travel. Id. at 907. “Minor burdens impacting interstate

 5    travel,” in contrast, “do not constitute a violation of [the right to travel].” Miller v. Reed, 176

 6    F.3d 1202, 1205 (9th Cir. 1999).

 7          Plaintiffs allege that if they leave their respective home counties, they risk criminal

 8    prosecution because the statutes restrict the validity of an open carry license to the county of

 9    issuance and prohibit counties with 200,000 persons or more from issuing such licenses. Compl.

10    ¶¶ 165, 166, 168. But the Constitution protects the right to travel, not the right to travel armed.

11    Plaintiffs cite no authority that supports the proposition that restricting open carry to the county of

12    issuance is tantamount to denying “the right to eat at public restaurants,” Compl. ¶ 160 (citing

13    Bell v. Maryland, 378 U.S. 226, 255 (1964)), or medical care, Maricopa Cnty., 415 U.S. at 259-

14    60, or welfare assistance, Shapiro v. Thompson, 394 U.S. 618, 631 (1969). Because sections

15    26150 and 26155 do not deprive Plaintiffs of a “very important benefit[] [or] right[]” to which

16    they are entitled, see Soto-Lopez, 476 U.S. at 907, they have not suffered a violation of their

17    constitutional right to travel. Counts 7 and 8 should be dismissed.

18    III. COUNT 12 SHOULD BE DISMISSED BECAUSE CALIFORNIA PENAL CODE SECTIONS
           26150, 26155, 26350, AND 25850 DO NOT EFFECT AN UNREASONABLE SEIZURE
19

20          In Count 12, Plaintiffs allege that sections 26150, 26155, 26350, and 25850 violate their

21    Fourth Amendment rights “by dictating the manner in which they carry their firearms in

22    public . . . .” Compl. ¶ 288. Because these statutes neither meaningfully interfere with Plaintiffs’

23    possessory interests nor infringe upon a reasonable expectation of privacy, this claim fails as a

24    matter of law.

25          The Fourth Amendment provides, in relevant part, that “[t]he right of the people to be

26    secure in their persons, houses, papers and effects, against unreasonable searches and seizures,

27    shall not be violated.” U.S. Const. amend. IV. To establish a Fourth Amendment violation,

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                                                         11
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 19 of 24


 1    Plaintiffs must plausibly allege, first, that a seizure occurred, and second, that the seizure was

 2    unreasonable. Soldal v. Cook County, Ill., 506 U.S. 56, 61-62 (1992).

 3          A “seizure” occurs when “there is some meaningful interference with an individual’s

 4    possessory interests in that property.” United States v. Jacobsen, 466 U.S. 109, 113 (1984).

 5    Plaintiffs allege that sections 26150, 26155, 26350, and 25850 interfere with a possessory interest

 6    in their firearms, Compl. ¶¶ 213, 214, specifically with “the way law-abiding individuals,

 7    including Plaintiffs, carry their firearms in public,” id. ¶ 218. But these statutes are confined in

 8    scope; they regulate where and in what circumstances a person can lawfully carry a firearm in

 9    public, and when a peace officer is authorized to examine a firearm. Cal. Penal Code

10    §§ 26150(b)(2) (restricting scope of open carry license to the county of issuance), 26155(b)(2)

11    (same), 26350(a) (prohibiting carry of an unloaded handgun in certain public places), 25850(a),

12    (b) (prohibiting carry of a loaded firearm in certain public places and restricting to these locations

13    any examinations to determine whether a firearm is loaded). Because these limitations ensure

14    that the statutes only minimally burden Plaintiffs’ possessory interests in their firearms, Plaintiffs

15    cannot meet the threshold requirement of showing that a seizure occurred here. Cedar Point

16    Nursery v. Shiroma, 923 F.3d 524 (9th Cir. 2019) (no seizure where law allows intrusions that are

17    “controlled” and limited in scope).

18          Even if Plaintiffs had sufficiently alleged that sections 26150, 26155, 26350, and 25850

19    effect a seizure, the Fourth Amendment only protects against seizures that are unreasonable.

20    Soldal, 506 U.S. 56, 71 (“[R]easonableness is still the ultimate standard under the Fourth

21    Amendment, which means that numerous seizures . . . will survive constitutional scrutiny.”

22    (citation omitted)). The reasonableness determination must reflect a “careful balancing of

23    governmental and private interests.” Id. Only “when an expectation of privacy that society is

24    prepared to consider reasonable is infringed” is there a Fourth Amendment violation. United

25    States v. Jefferson, 566 F.3d 928, 933 (9th Cir. 2009).

26          Plaintiffs allege that the statutes lack a “legitimate governmental interest,” Compl. ¶ 220,

27    but they fail entirely to account for the public safety benefits of statutes that regulate firearms.

28    Even in upholding the Second Amendment right to keep and bear arms within the home, the
                                                 12
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 20 of 24


 1    Supreme Court in Heller acknowledged that the Second Amendment is “not unlimited,” that it

 2    does not “protect the right [] to carry arms for any sort of confrontation,” and that “gun violence

 3    is a serious problem” in this country. 554 U.S. at 595, 636. Indeed, the predecessor to section

 4    25850(b) long ago withstood a reasonableness inquiry in state court. People v. DeLong, 11 Cal.

 5    App. 3d 786, 792-93 (Cal. Ct. App. 1970) (holding that people do not have reasonable

 6    expectations of privacy in the firing chambers of their firearms carried in public, so a chamber

 7    check “may hardly be deemed a search at all”); see also United States v. Brady, 819 F.2d 884,

 8    889 (9th Cir. 1987) (citing DeLong with approval for the proposition that under the predecessor to

 9    section 25850(b), “police may inspect a firearm which they know is in a vehicle, regardless of

10    whether they have probable cause to believe that it is loaded”). Given the weighty governmental

11    interest in regulating where, how, and by whom firearms may be carried, sections 26150, 26155,

12    26350, and 25850 should be upheld, and Count 12 should be dismissed.

13    IV.   COUNTS 13 AND 14 SHOULD BE DISMISSED BECAUSE CALIFORNIA PENAL CODE
            SECTIONS 26150, 26155, 26350, AND 25850 DO NOT DENY PLAINTIFFS DUE
14          PROCESS
15          Plaintiffs bring two claims based on their Fourteenth Amendment due process rights. In

16    Count 13, Plaintiffs allege that sections 26150, 26155, 26350, and 25850 deprived them of their

17    right to procedural due process because the statutory restrictions on when and how they are

18    permitted to carry their firearms deny them full use and enjoyment of their property. Compl. ¶¶

19    291, 292. In Count 14, Plaintiffs allege that sections 26150, 26155, 26350, and 25850 deprived

20    them of their right to substantive due process because the statutory restrictions on when and how

21    they are permitted to carry firearms deny them a fundamental right. Id. ¶ 295. Neither of these

22    claims is cognizable.

23          The Due Process Clause of the Fourteenth Amendment prohibits states from “depriv[ing]

24    any person of life, liberty, or property, without due process of law.” U.S. Const. amend. XIV,

25    § 1. To determine whether there is a procedural due process violation, a court analyzes the claim

26    in two steps: “[t]he first asks whether there exists a liberty or property interest which has been

27    interfered with by the State; the second examines whether the procedures attendant upon that

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         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 21 of 24


 1    deprivation were constitutionally sufficient.” Carver v. Lehman, 558 F.3d 869, 872 (9th Cir.

 2    2009) (quoting Ky. Dep’t of Corr. v. Thompson, 490 U.S. 454, 460 (1989).

 3          To create a liberty or property interest, a statute must contain “explicitly mandatory

 4    language, i.e., specific directives to the decisionmaker that if the regulations’ substantive

 5    predicates are present, a particular outcome must follow.” Carver, 558 F.3d at 874-75 (quoting

 6    Thompson, 490 U.S. at 463). Here, sections 26350 and 25850 do not create a liberty or property

 7    interest because they are criminal statutes intended only to prohibit carrying firearms in certain

 8    locations. Sections 26150 and 26155, in contrast, state that a county sheriff or city police chief

 9    “may” issue an open carry license, but these statutes use language that is discretionary, not

10    mandatory. Cal. Penal Code § 26150(a), (b)(2); § 26155(a), (b)(2). Such “classically permissive”

11    language does not create a liberty or property interest. Carver, 558 F.3d at 875 (finding that

12    statute that uses “may” is not “explicitly mandatory”). Plaintiffs cannot satisfy the first prong of

13    the procedural due process analysis.

14          Even if the statutes were to create a liberty or property interest, Plaintiffs do not describe

15    why they are entitled to a “procedure,” Compl. ¶ 224, and what procedure they have been denied.

16    The “[t]hreadbare recitals” alleged in connection with Count 13 are thus insufficient to state a

17    claim. Iqbal, 556 U.S. 678; see also Cupp v. Harris, 2:16-cv-00523-TLN-KJN, 2018 WL

18    4599590 (E.D. Cal. Sept. 21, 2018) at *5 (failure to state a due process claim challenging firearms

19    confiscation where plaintiff neither explained what proceeding he desired nor provided a factual

20    basis entitling him to a proceeding). Count 13 should be dismissed.

21          The Due Process Clause also prevents the government from infringing certain fundamental

22    liberty interests, no matter what process is provided. Washington v. Glucksberg, 521 U.S. 702,

23    721 (1997). Yet “[o]nly fundamental rights and liberties which are deeply rooted in this Nation’s

24    history and tradition and implicit in the concept of ordered liberty qualify for such protection.”

25    Chavez v. Martinez, 538 U.S. 760, 775 (2003) (internal quotation marks omitted). Indeed, the

26    Supreme Court has often expressed its “reluctance to expand the doctrine of substantive due

27    process.” Id. A statute that does not implicate a fundamental right need only bear a “reasonable

28    relation to a legitimate state interest.” Glucksberg, 521 U.S. at 722.
                                                        14
         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 22 of 24


 1           Plaintiffs suggest that they have been deprived of a fundamental right because the right to

 2    bear arms is, in their view, “more fundamental and more inalienable, than the unenumerated right

 3    to have an abortion.” Compl. ¶ 235. But sections 26150, 26155, 26350, and 25850 do not

 4    implicate a fundamental right, apart from whatever protection that the Second Amendment may

 5    provide. See Albright v. Oliver, 510 U.S. 273 (1994) (“Where a particular Amendment provides

 6    an explicit textual source of constitutional protection against a particular sort of government

 7    behavior, that Amendment, not the more generalized notion of ‘substantive due process,’ must be

 8    the guide for analyzing these claims.”) (internal quotation marks omitted); cf. Teixeira v. Cnty. of

 9    Alameda, 822 F.3d 1047, 1052 (9th Cir. 2016) (equal protection challenge that involves

10    fundamental right analysis was “no more than a Second Amendment claim dressed in equal

11    protection clothing,” and thus was “subsumed by, and coextensive with the former”) (internal

12    quotation marks omitted), aff’d on reh’g en banc, 873 F.3d 670, 676 n.7 (9th Cir. 2017)

13    (affirming district court’s rejection of equal protection challenge for reasons given in panel

14    opinion). At most, then, the statutes that Plaintiffs challenge need only bear a reasonable relation

15    to a legitimate state interest. As shown above in the Fourth Amendment analysis of the

16    reasonableness of the statutes, sections 26150, 26155, 26350, and 25850 are justified by the

17    legitimate state interest in regulating where, how, and by whom firearms may be carried. Count

18    14 should be dismissed.

19    V.     THE FOURTH AND FOURTEENTH AMENDMENT ALLEGATIONS IN COUNTS 9 AND 10
             SHOULD BE DISMISSED
20

21           Plaintiffs allege that sections 25850 (Count 9) and 26350 (Count 10) violate their Second,

22    Fourth, and Fourteenth Amendment rights because they “criminalize[]” open carry. Compl.

23    ¶¶ 279, 282. For the reasons set forth in the preceding two sections, Plaintiffs’ Fourth and

24    Fourteenth Amendment allegations in Counts 9 and 10 should be dismissed. Hill, 841 F. Supp.

25    2d at 1081-82 (C.D. Cal. 2011) (court may dismiss the part of a claim that is based on legally

26    insufficient allegations).

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           Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 23 of 24


 1                                               CONCLUSION

 2          The Attorney General respectfully requests that the Court dismiss Counts 5, 6, 7, 8, 12, 13,

 3    and 14 in their entirety, and the corresponding allegations in Counts 9 and 10 that Plaintiffs’

 4    Fourth and Fourteenth Amendment rights were violated.

 5
      Dated: June 6, 2019                                     Respectfully Submitted,
 6
                                                              XAVIER BECERRA
 7                                                            Attorney General of California
                                                              MARK R. BECKINGTON
 8                                                            Supervising Deputy Attorney General

 9

10
                                                              /s/ R. Matthew Wise
11                                                            R. MATTHEW WISE
                                                              Deputy Attorney General
12                                                            Attorneys for Defendant Attorney General
                                                              Xavier Becerra
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         Defendant’s Memorandum of Points and Authorities in Support of Motion to Dismiss (2:19-cv-00617-KJM-AC)
      Case 2:19-cv-00617-KJM-AC Document 10-1 Filed 06/06/19 Page 24 of 24



                                  CERTIFICATE OF SERVICE
Case Name:        Baird, Mark v. Xavier Becerra           No.    2:19-cv-00617-KJM-AC

I hereby certify that on June 6, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on June 6, 2019, at Sacramento, California.


                Eileen A. Ennis                                 /s/ Eileen A. Ennis
                   Declarant                                         Signature

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